           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 1 of 22




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ROME DIVISION

            UNITED STATES OF AMERICA

                v.                                      CRIMINAL ACTION FILE
                                                        NO. 4:10-CR-32-HLM-WEJ-1
            JOHN GREGORY ALVAREZ,

                           Defendant.



                       NON-FINAL REPORT AND RECOMMENDATION

                 This matter is before the Court on defendant John Gregory Alvarez’s Motion

           to Suppress Statements [33]. On November 11, 2010, the Court conducted an

           evidentiary hearing [43] regarding the instant Motion, which has been transcribed

           [45]. The parties have briefed the matter. (See Br. Supp. Mot. Supp. Statements [48]

           (“Def.’s Br.”); Gov’t Resp. [50]; Def.’s Reply [91].) On the basis of the testimony

           and evidence produced at that hearing, the undersigned REPORTS that police

           provided Mr. Alvarez with a Miranda warning; he in turn voluntarily and knowingly

           waived his Miranda rights and made statements to police while in his residence.

           Moreover, Mr. Alvarez made additional voluntary statements to police while in




AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 2 of 22




           transit to the Floyd County Jail. Therefore, the undersigned RECOMMENDS that

           defendant’s Motion to Suppress Statements [33] be DENIED.

           I.    STATEMENT OF FACTS

                 A.     Execution of the Search Warrant

                 At approximately 7:00 a.m. on June 30, 2010, a team of six Drug Enforcement

           Administration (“DEA”) agents and local law enforcement officers executed a search

           warrant at Mr. Alvarez’s residence–25 East Lakeview Drive, Rossville, Georgia.

           (Nov. 10, 2010, Hr’g Tr. [45] (“Tr.”) 5-6, 10-11, 18-20, 24, 26, 39-40.) That search

           warrant was one of four the DEA executed that day in an ongoing investigation into

           alleged narcotics trafficking by Mr. Alvarez. (Id. at 6, 23-25.)1

                 Three officers, including Walker County Deputy Sheriff Donald Brown,

           entered and secured Mr. Alvarez’s residence. (Tr. 8-10, 19, 59, 71.)2 The officers

           forced entry through a locked screen door on the residence’s back porch. (Id. at 6-7,



                 1
                   While those warrants were being executed, DEA Special Agent (“SA”)
           Christopher Mueller (the co-case agent assigned to this case) was waiting at a strip
           mall in Rossville. (Tr. 25.) Once he learned that the four warrants had been
           executed, he drove to Mr. Alvarez’s residence. (Id.) At the time, Mr. Alvarez was
           the main suspect of the investigation. (Id. at 26.)
                 2
                    All the officers carried firearms and wore raid jackets or ballistic vests
           identifying themselves as law enforcement. (Tr. 8-10, 59.)

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AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 3 of 22




           28, 55, 57, 59, 71.) As the officers approached the home’s back door announcing

           “Sheriff’s office, search warrant,” Mr. Alvarez opened the door and the officers

           ordered him to the floor. (Id. at 57-61, 71.) One officer remained with Mr. Alvarez

           while Deputy Brown and another officer secured the home. (Id. at 7, 58, 60.) Mr.

           Alvarez’s wife, Comneta, was also in the residence. (Id. at 62.)

                 After approximately three to five minutes, the initial entry team had secured

           the residence and opened its front door so that SA Frank Ledford and SA David

           Shelton (who had been monitoring that entrance) could assist inside the home. (Tr.

           6-8, 10, 20, 57, 63.) SA Shelton was wearing a ballistic vest with the word “Police”

           across the chest and a badge patch. (Id. at 8-9.) He was armed with a 40-caliber

           Glock pistol, but did not unholster it while in the residence. (Id. at 9.)

                 B.     Mr. Alvarez’s Statements While in His Residence

                 As he entered the home, SA Shelton observed Mr. Alvarez and his wife seated

           on reclining chairs in the living room with a uniformed member of the raid team

           (Deputy Brown) observing them. (Tr. 8, 11-12, 20, 60-64, 71-72.)3 Mr. Alvarez was

           shirtless and wearing pajamas or underwear, and both he and his wife had a blanket


                 3
                   Deputy Brown testified that he did not interrogate Mr. Alvarez at that time.
           (Tr. 64.)

                                                     3


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 4 of 22




           or sheet pulled around them like a shawl. (Id. at 12, 21-22, 29, 40, 63, 72.)

           Additionally, they were handcuffed in front. (Id. at 20, 29, 40.)

                 Mr. Alvarez expressed his concern about the morning’s events to SA Shelton

           and, in a polite, conversational manner, asked what was going on, what the officers

           were looking for, and why they came to his house. (Tr. 13, 18, 62-63.)4 Mr. Alvarez

           also told SA Shelton that he had taken ten oxycodone pills the previous night. (Id.

           at 21). According to SA Shelton, Mr. Alvarez did not appear ill or intoxicated, but

           was acting lethargic or tired. (Id. at 13.) SA Shelton told Mr. Alvarez that he did not

           have the answers to those questions because he had not been involved in the

           investigation and explained that the case agent would arrive soon and could speak

           with Mr. Alvarez. (Id. at 14.) SA Shelton then advised Mr. Alvarez of his Miranda

           rights by reciting them from memory as follows:

                 You have the right to remain silent. Anything you say could be used
                 against you. You have the right to an attorney and to have an attorney
                 present. If you cannot afford an attorney, one will be appointed for
                 you. If you decide to answer questions now and at any time decide you
                 don’t want to answer questions anymore, nobody will ask you
                 questions.




                 4
                  SA Shelton characterized Mr. Alvarez’s ability to speak English as “coherent
           and conversational.” (Tr. 13.)

                                                     4


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 5 of 22




           (Id. at 14-15; see also id. at 72, 77.) According to SA Shelton, he then paraphrased

           those rights by explaining, “It means you don’t have to say anything unless you want

           to, do you understand.” (Id. at 15-16.) Mr. Alvarez said, “Yeah, I understand I just

           want to know what’s going on.” (Id.) Mr. Alvarez did not ask SA Shelton to repeat

           any of the above rights. (Id. at 15.) Deputy Brown was present while SA Shelton

           Mirandized Mr. Alvarez. (Id. at 16, 63-64.)5

                 SA Shelton did not interrogate Mr. Alvarez, but engaged him in small talk

           regarding his dogs. (Tr. 16.) Ten or twenty minutes after officers initially entered

           Mr. Alvarez’s residence, SA Mueller arrived with SA David Gilleland. (Id. at 17,

           19, 26, 28, 39, 64.) SA Mueller’s badge was visible, but did not brandish his

           firearm. (Id. at 28-29.) At that time, SA Shelton told Mr. Alvarez that “[SA Mueller

           is] the guy that can answer your questions.” (Id. at 17.) Mr. Alvarez and his wife

           were still seated in the reclining chairs with Deputy Brown observing them. (Id. at

           27-29, 40.)




                 5
                   Deputy Brown testified that SA Shelton read the Miranda rights to Mr.
           Alvarez from a card. (Tr. 63, 73.) This inconsistency is inconsequential as the
           testimony reflects that SA Shelton administered the Miranda rights to Mr. Alvarez
           and defendant does not dispute that fact. (See generally Def.’s Br.)

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AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 6 of 22




                 In his experience as a law enforcement officer, SA Mueller has interacted with

           people under the influence of prescription narcotics. (Tr. 30-31, 54-55.) SA Mueller

           knew that Mr. Alvarez had taken ten 30-milligram oxycodone pills the previous

           night. (Id. at 13, 21, 30-31, 41.)6 According to SA Mueller, the effect that amount

           of narcotics would have on someone would depend on the person’s level of

           addiction. (Id. at 30.) SA Mueller explained that phenomenon as follows: “So if a

           person doesn’t take a certain drug and then takes a lot of it, it can have a different

           adverse effect on them than if a person is an addict and sustains their habit with large

           amounts of drugs.” (Id.) He also testified that someone who has taken oxycodone

           should not drive or operate heavy machinery and that an overdose of oxycodone

           could be lethal, cause suppressed respiration, and slow thinking. (Id. at 30, 42-43.)

                 According to SA Mueller, Mr. Alvarez was responsive, alert, awake, and

           “obviously acting confused, maybe sullen that law enforcement was in his house.”

           (Tr. 30-31.) SA Mueller testified that Mr. Alvarez did not appear intoxicated, did

           not slur his speech, was consistently conscious, did not fall asleep, did not pass out,

           and was able to comprehend what was being said and focus on the questions asked.

                 6
                  SA Mueller testified that a new patient should only take a 30-milligram dose
           of oxycodone every four hours, and an extended release pill every twelve hours. (Tr.
           43.)

                                                      6


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 7 of 22




           (Id. at 31, 52, 54.) According to SA Mueller, Mr. and Mrs. Alvarez appeared to be

           in poor physical condition; Mr. Alvarez complained in general terms that he was not

           feeling well and stated that he thought he was passing a kidney stone. (Id. at 40, 73.)

           However, Mr. Alvarez never asked SA Mueller to stop questioning him due to pain.

           (Id. at 52.) According to SA Mueller, Mr. Alvarez’s pain did not appear to interfere

           with his ability to answer questions. (Id.) Mr. Alvarez did not ask for medical

           attention, and was not writhing in pain, doubled over, visibly shaken, or frightened;

           he merely laid in the recliner. (Id. at 52-53, 63.)

                 SA Mueller introduced himself to Mr. and Mrs. Alvarez and immediately

           asked Mr. Alvarez if there was any methamphetamine in the home. (Tr. 29, 43.) Mr.

           Alvarez replied that there was not. (Id.) SA Mueller turned to SA Shelton and asked

           if Mr. Alvarez and his wife had been Mirandized; SA Shelton answered in the

           affirmative. (Id.) SA Mueller briefly conversed with Mr. Alvarez, who was alert

           and responsive, and also interacted with Mrs. Alvarez. (Id. at 32.) Mr. Alvarez did

           not ask SA Mueller to repeat himself. (Id.) Regarding that conversation, SA

           Mueller testified as follows: “I reemphasized certain points, but I didn’t have to say

           things again because he didn’t understand me or didn’t hear me.” (Id.)




                                                     7


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 8 of 22




                 During the course of their conversation, Mr. Alvarez told SA Mueller that he

           was “bad with last names.” (Tr. 44.) SA Mueller believed that Mr. Alvarez was not

           being truthful as to whether he knew certain individuals. (Id. at 32.) Because Mrs.

           Alvarez was being more forthright, SA Mueller separated the two, moving her to an

           adjoining room eight to ten feet behind where Mr. Alvarez was seated for additional

           questioning. (Id. at 32-34, 48.)

                 When SA Mueller resumed questioning Mr. Alvarez, he commented about a

           specific detail of the investigation; Mr. Alvarez responded to that comment and then

           requested an attorney. (Tr. 34, 49.) SA Mueller stopped questioning Mr. Alvarez,

           brought Mrs. Alvarez back into the living room, and made a telephone call. (Id. at

           34.) Mr. Alvarez remained in the living room for approximately one hour before

           being transported to the Walker County Sheriff’s Office at 8:30 a.m. (Id. at 34-35,

           50, 64-65.) Law enforcement did not ask Mr. Alvarez any further investigative

           questions during that time. (Id. at 35.)

                 No threats or promises were made to Mr. or Mrs. Alvarez during the above

           events, and they were not yelled at or treated inhumanely. (Tr. 17-18, 34, 36-37.)

           Additionally, during the course of the above interactions, Mr. Alvarez requested a




                                                      8


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 9 of 22




           T-shirt and a Zantac. (Id. at 35-36, 46, 51-52.) SA Mueller complied with those

           requests. (Id. at 36, 46, 52.)

                 C.     Mr. Alvarez’s Statements While Being Transported

                 On June 30, 2010, at approximately 3:00 p.m., Deputy Brown transported Mr.

           Alvarez from the Walker County Sheriff’s Office to the Floyd County Jail. (Tr. 35,

           64-65, 74.)7 Deputy Brown handcuffed Mr. Alvarez in the front and placed him into

           a patrol car for the fifty-minute drive. (Id. at 65-66, 74.) During that time, Deputy

           Brown and Mr. Alvarez were separated by a metal screen between the patrol car’s

           front and rear seats. (Id. at 66.)

                 Ten minutes into the drive, Mr. Alvarez began making unsolicited,

           unprompted statements to Deputy Brown every five to eight minutes. (Tr. 67, 69.)8

           Mr. Alvarez asked Deputy Brown about Mrs. Alvarez, his animals, other people, and

           his property. (Id. at 67, 69, 74-75.) Mr. Alvarez also referenced another patrol car

           driving six to seven car lengths ahead of Deputy Brown. (Id. at 68.) Deputy Brown



                 7
                   SA Mueller instructed Deputy Brown to transport Mr. Alvarez to the Floyd
           County Jail because the DEA has a contract with the Jail to house federal defendants.
           (Tr. 35, 65.)
                 8
                Police radio traffic was audible during the drive; however, Mr. Alvarez’s
           comments were not prompted by information coming over the radio. (Tr. 67.)

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AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 10 of 22




            answered Mr. Alvarez’s questions, but did not re-Mirandize him. (Id. at 74-75.)

            During the trip, Mr. Alvarez asked Deputy Brown if he had gone to Gerald’s house;

            Deputy Brown responded, “Gerald who?” (Id. at 76-78.)

                  Deputy Brown characterized Mr. Alvarez’s demeanor during the drive as

            curious and testified that Mr. Alvarez did not appear intoxicated, ill, sick, or sleepy.

            (Tr. 68-69.) During the trip, however, Mr. Alvarez alternated between sitting and

            laying on the back seat. (Id. at 74.) Additionally, while transporting Mr. Alvarez,

            Deputy Brown did not point a firearm at him, drive erratically, threaten or yell at

            him, make any promises to him, treat him inhumanely, or ask him additional

            questions. (Id. at 68-70.)

            II.   THE CHARGING DOCUMENT

                  On July 20, 2010, the grand jury returned a five-count Indictment with a

            forfeiture provision [16] against Mr. Alvarez and his co-defendant, Jesse Wilburn

            Peardon, concerning conduct allegedly occurring in this District.9 Count One alleges

            that, at least by June 1, 2005, and continuing up to and including June 30, 2010, Mr.

            Alvarez and Mr. Peardon knowingly conspired to possess with intent to distribute

                  9
                    Counts Two and Five of the Indictment only concern Mr. Peardon; thus, they
            are not relevant to Mr. Alvarez or his pending Motion to Suppress Statements. (See
            Indictment Counts Two & Five.)

                                                      10


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 11 of 22




            oxycodone in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.

            (Indictment Count One.) Count Three charges that, on or about May 27, 2010, the

            co-defendants, aided and abetted by each other, knowingly distributed oxycodone

            in violation of 18 U.S.C. § 2 and 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.

            (Indictment Count Three.) Finally, Count Four charges that, on or about June 15,

            2010, the co-defendants, aided and abetted by each other, knowingly distributed

            oxycodone in violation of 18 U.S.C. § 2 and 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C),

            and 846. (Indictment Count Four.)

            III.   CONTENTIONS OF THE PARTIES

                   Mr. Alvarez asserts that his June 30, 2010 statements to law enforcement

            officers (made at his home and while being transported) must be suppressed. (See

            generally Def.’s Br.) He argues that, while at his home, he was under the influence

            of oxycodone and in poor health; therefore, he could not knowingly and intelligently

            waive his Miranda rights. (Id. at 6-8.) Likewise, Mr. Alvarez contends that his

            subsequent statements were not voluntary. (Id.) Additionally, he argues that, after

            asserting his Fifth Amendment right to counsel, he was subjected to additional

            interrogation while being transported to the Floyd County Jail. (Id. at 8-10.)




                                                    11


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 12 of 22




                  The Government responds that SA Shelton provided a Miranda warning to Mr.

            Alvarez, that Mr. Alvarez knowingly and voluntarily waived his right to remain

            silent and, after invoking his right to counsel, later volunteered statements without

            additional police interrogation. (Gov’t Br. 11-20.) Furthermore, the Government

            asserts that any inculpatory statements by him were free and voluntarily and should

            not be suppressed. (Id. at 20-21.)

            IV.   ADMISSIBILITY OF INCRIMINATING STATEMENTS

                  Before a defendant’s confession or self incriminating statements may be

            presented to a jury, a defendant has a constitutional right to a fair hearing and an

            independent and reliable determination of the voluntariness of those statements.

            Jackson v. Denno, 378 U.S. 368, 376-77 (1964). Pursuant to 18 U.S.C. § 3501(a)

            “the trial judge shall, out of the presence of the jury, determine any issue as to

            voluntariness.” United States v. Davidson, 768 F.2d 1266, 1270 n.1 (11th Cir. 1985)

            (explaining that § 3501(a) codified Jackson v. Denno requirement for criminal

            prosecutions).

                  In Miranda v. Arizona, 384 U.S. 436 (1966), the Supreme Court noted that,

            “when an individual is taken into custody or otherwise deprived of his freedom by

            the authorities in any significant way and is subjected to questioning, the privilege

                                                     12


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 13 of 22




            against self-incrimination is jeopardized.” 384 U.S. at 478. Therefore, the Court

            held that the procedural safeguard of warning the suspect of his constitutional rights

            must be instituted to protect the privilege. Id. at 478-79. These so-called Miranda

            warnings “are required before any statement may be admitted into evidence at trial

            which was elicited from a person in custody through interrogation.” Endress v.

            Dugger, 880 F.2d 1244, 1248 (11th Cir. 1989). A two-part inquiry determines the

            admissibility of a confession or self-incriminating statement. Courts making a

            determination on the validity of a defendant’s waiver of his Miranda rights may find

            such a waiver valid only if the totality of the circumstances show both of the

            following: (1) an uncoerced choice and (2) an awareness “of both the nature of the

            right being abandoned and the consequences of the decision to abandon it.” Moran

            v. Burbine, 475 U.S. 412, 421 (1986).

                  Furthermore, even where the Government has complied with the requirements

            of Miranda, the Court must consider whether the confession or self-incriminating

            statement was voluntary. United States v. Jones, 32 F.3d 1512, 1516 (11th Cir.

            1994) (per curiam); United States v. Sims, 719 F.2d 375, 378 (11th Cir. 1983) (per

            curiam). To determine whether statements were voluntary, the Court must examine

            the “totality of the circumstances, including the details of the interrogation and the

                                                     13


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 14 of 22




            defendant’s characteristics.” United States v. Bernal-Benitez, 594 F.3d 1303, 1319

            (11th Cir. 2010).     The goal of that inquiry is to determine whether police

            overreached, considering factors such as “the [accused’s] lack of education, or his

            low intelligence, the lack of any advice to the accused of his constitutional rights, the

            length of detention, the repeated and prolonged nature of the questioning, and the use

            of physical punishment such as the deprivation of food or sleep.” Id. (internal

            quotations and citations omitted) (alteration in original).

                  However, voluntary incriminating statements not made in response to

            custodial interrogation10 are admissible. See Innis, 446 U.S. at 299-300; United

            States v. Canela, 144 F. App’x 17, 22 (11th Cir. 2005) (per curiam); United States

            v. Suggs, 755 F.2d 1538, 1541 (11th Cir 1985). Likewise, Miranda is not implicated

            where an officer responds to a defendant’s voluntary statement by asking for

            clarification. United States v. Villegas-Tello, 319 F. App’x 871, 875-76 (11th Cir.

            2009) (per curiam).




                  10
                      Interrogation is defined as express questioning or the functional
            equivalent–“any words or actions on the part of the police . . . that the police should
            know are reasonably likely to elicit an incriminating response.” Rhode Island v.
            Innis, 446 U.S. 291, 300-01 (1980).

                                                       14


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 15 of 22




            V.    ANALYSIS

                  The Court first determines whether Mr. Alvarez knowingly and intelligently

            waived his Miranda rights and whether his subsequent statements to police (made in

            his home) were voluntary. The Court then examines whether Mr. Alvarez’s later

            statements (made in transit to the Jail) were voluntary, or the product of additional

            interrogation by Deputy Brown.

                  A.     Defendant’s Miranda Waiver and Statements in his Home

                  It is undisputed that the first Miranda prong was satisfied. Mr. Alvarez does

            not argue that law enforcement failed to give him a Miranda warning or that his

            waiver was coerced.11 Rather, Mr. Alvarez argues that the second prong was not met

            because he could not have knowingly and intelligently waived his rights while under

            the influence of drugs and in pain. For those same reasons, he also contends that his

            subsequent statements in his home were involuntary.




                  11
                       The hearing testimony supports defendant’s concession that the first
            Miranda prong was met. The testimony reflects that, prior to any questioning, SA
            Shelton orally provided a Miranda warning to Mr. Alvarez and summarized those
            rights in plain language in the presence of Deputy Brown. (Tr. 14-16, 63-64.)
            Moreover, no officer made any threats or promises to Mr. Alvarez, yelled at or
            treated him inhumanely, or brandished a weapon after the residence was secured.
            (Id. at 9, 14-18, 34, 36-37.)

                                                     15


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 16 of 22




                  The test of whether a person is too affected by alcohol, drugs, or pain to

            voluntarily and intelligently waive his Miranda rights is one of coherence and an

            understanding of what is happening. See United State v. Martin, 434 F.2d 275, 279

            (5th Cir. 1979) (holding confession properly admissible where evidence supported

            finding that, while defendant had been drinking and was affected by alcohol to some

            degree, he was coherent and understood was happening)12; see also United States v.

            Adamson, No. 04-672, 2008 WL 167299, at *7 (E.D. Pa. Jan. 16, 2008) (collecting

            circuit court cases focusing on defendant’s coherence and comprehension, and

            finding that anxiety and pain medication did not impair the defendant’s ability to

            make a valid Miranda waiver).

                  Here, despite Mr. Alvarez’s ingestion of oxycodone the previous night and his

            pain, the hearing testimony supports a finding that he was coherent and cognizant of

            the situation when he waived his Miranda rights and spoke with SA Mueller. Mr.

            Alvarez was alert and awake when the officers entered his home at 7:00 a.m. on June

            30, 2010, opening the back door of the residence as officers approached. After being

            moved to the living room, Mr. Alvarez asked SA Shelton in a polite, conversational

                  12
                     The Eleventh Circuit has adopted as binding precedent all Fifth Circuit
            decisions handed down before the close of business on September 30, 1981. Bonner
            v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc).

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AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 17 of 22




            manner what was going on, what the officers were looking for, and why they came

            to his home. (See Tr. 13, 18, 57-61, 62-63, 71.)       Although the hearing testimony

            revealed that Mr. Alvarez was in poor physical health, he was consistently conscious

            and did not appear intoxicated, slur his speech, fall asleep, or pass out. (Id. at 13, 31,

            40, 52, 54, 73.)

                   Moreover, after SA Shelton administered the Miranda rights, Mr. Alvarez

            stated that he understood his rights and repeated his desire to “know what’s going

            on.” (Tr. 15-16.) Mr. Alvarez’s express oral statement waiving those rights is

            “strong proof of the validity of that waiver.” See North Carolina v. Butler, 411 U.S.

            369, 373 (1979). Likewise, when SA Mueller arrived ten to twenty minutes later,

            Mr. Alvarez was able to focus on the questions asked and to respond with coherent

            answers. (Tr. 31, 52, 54.) Although Mr. Alvarez complained in general terms that

            he was not feeling well and thought that he was passing a kidney stone, he did not

            ask SA Mueller to stop the questioning or request medical attention. (Id. at 40, 52-

            53, 63, 73.) Rather, he asked for a T-shirt and a Zantac, both of which SA Mueller

            gave to Mr. Alvarez. (Id. at 35-36, 46, 51-52.) Moreover, after conversing with SA

            Mueller for approximately ten minutes, Mr. Alvarez invoked his right to counsel and

            stopped the interrogation. (Id. at 34, 49.)

                                                       17


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 18 of 22




                  The undersigned accepts SA Mueller’s testimony that narcotics have varying

            effects on people depending on their individual drug history.         (See Tr. 30.)

            However, there is no probative evidence that Mr. Alvarez’s statements were

            involuntary. Without more, Mr. Alvarez’s contention that he ingested oxycodone

            the previous evening and was in pain does not invalidate his Miranda waiver or make

            his subsequent statements involuntary. Indeed, by invoking his right to remain silent

            and his right to counsel, Mr. Alvarez demonstrated that he understood the Miranda

            warning and was cognizant of the situation, ending his conversation with SA Mueller

            when it suited him.

                  Therefore, considering the totality of the circumstances, Mr. Alvarez made a

            knowing, voluntary, and intelligent waiver of his Miranda rights, followed by

            voluntary statements to SA Mueller.               Accordingly, the undersigned

            RECOMMENDS DENYING defendant’s Motion to Suppress as to his statements

            made while at his residence.




                                                     18


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 19 of 22




                  B.     Defendant’s Statements in Transit

                  After Mr. Alvarez was taken into custody, Deputy Brown transported him

            from the Walker County Sheriff’s Office to the Floyd County Jail, a fifty-minute

            drive. (Tr. 35, 64-65, 74.) During that time, Mr. Alvarez repeatedly made

            unsolicited statements to and voluntarily asked questions of Deputy Brown (which

            Deputy Brown answered). (Id. at 67, 69, 74-75.) At some point, Mr. Alvarez asked

            Deputy Brown if the officers had gone to Gerald’s house. (Id. at 76-78.) Deputy

            Brown responded by asking Mr. Alvarez, “Gerald who?” (Id.)

                  There is no dispute that Mr. Alvarez was in custody at the time and that he had

            invoked his right to remain silent and to counsel. However, voluntary comments in

            the absence of, or unresponsive to, law enforcement questioning are admissible even

            after Miranda rights are asserted. See Miranda, 384 U.S. at 478; Suggs, 755 F.2d at

            1541-42. Here, Mr. Alvarez’s post-arrest statements and questions were spontaneous

            and not in response to interrogation by Deputy Brown. Additionally, Deputy

            Brown’s single question–“Gerald who?”–cannot be characterized as an interrogation

            or an attempt to elicit an incriminating response from Mr. Alvarez. Rather, it appears

            to be a reflexive follow-up question asked for the sake of clarification. The Eleventh

            Circuit has held that Miranda does not reach such situations. See Villegas-Tello, 319

                                                     19


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 20 of 22




            F. App’x 875-77; see also United States v. McQuagge, 787 F. Supp. 637, 658-59

            (E.D. Tex. 1991) (finding officer’s initial clarifying questions made in response to

            defendant’s spontaneous statement and after defendant had invoked right to counsel

            was not interrogation); Papile v. Hernandez, 697 F. Supp. 626, 629-31 (E.D.N.Y.

            1988) (same).     Accordingly, the undersigned RECOMMENDS DENYING

            defendant’s Motion to Suppress as to his statements made while in transit to the

            Floyd County Jail.

            VI.   CONCLUSION

                  For the reasons stated above, the undersigned RECOMMENDS that

            defendant’s Motion to Suppress Statements [33] be DENIED.

                  SO RECOMMENDED, this 4th day of February, 2011.




                                            WALTER E. JOHNSON
                                            UNITED STATES MAGISTRATE JUDGE




                                                    20


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 21 of 22




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ROME DIVISION

             UNITED STATES OF AMERICA

                 v.                                      CRIMINAL ACTION FILE
                                                         NO. 4:10-CR-32-HLM-WEJ-1
             JOHN GREGORY ALVAREZ,

                             Defendant.


                                 ORDER FOR SERVICE OF
                         NON-FINAL REPORT AND RECOMMENDATION

                  Let this Non-Final Report and Recommendation of the United States

            Magistrate Judge, made in accordance with 28 U.S.C. § 636(b)(1)(B) and the Court’s

            Local Criminal Rule 58.1(A)(3)(a), be filed and a copy, together with a copy of this

            Order, be served upon counsel for the parties.

                  Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if

            any, to the Non-Final Report and Recommendation within fourteen days of the

            receipt of this Order. Should objections be filed, they shall specify with particularity

            the alleged error(s) made (including reference by page number to any transcripts if

            applicable) and shall be served upon the opposing party. The party filing objections

            will be responsible for obtaining and filing the transcript of any evidentiary hearing


AO 72A
(Rev.8/8
2)
           Case 4:10-cr-00032-HLM-WEJ Document 114 Filed 02/04/11 Page 22 of 22




            for review by the District Court. If no objections are filed, the Non-Final Report and

            Recommendation may be adopted as the opinion and order of the District Court, and

            any appellate review of factual findings will be limited to a plain error review.

            United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983) (per curiam).

                  The Clerk is directed to submit the Non-Final Report and Recommendation

            with objections, if any, to the District Court after expiration of the above time period.



                  SO ORDERED, this 4th day of February, 2011.




                                              WALTER E. JOHNSON
                                              UNITED STATES MAGISTRATE JUDGE




                                                       2


AO 72A
(Rev.8/8
2)
